                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )
                v.                            )       No. 13-03060-01-CR-S-BCW
                                              )
TRAVIS E. BUTCHEE,                            )
                                              )
                              Defendant.      )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

         Pursuant to the Report and Recommendation of United States Magistrate Judge David P.

Rush, to which no objection has been filed, the plea of guilty to Counts One and Thirteen of the

Superseding Indictment is now accepted.       Defendant is adjudged guilty of such offense.

Sentencing will be set by subsequent order of the court.


                                                        s/ BRIAN C. WIMES
                                                      JUDGE BRIAN C. WIMES
                                                      UNITED STATES DISTRICT COURT

Dated:     November 5, 2013




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